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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 MYRIAM MARZAN-SANTIAGO                        CIVIL NO. 21-1465

 PLAINTIFF
                             DISCRIMINATION BASED ON SEX,
 VS.                         WRONGFUL TERMINATION (SEVERANCE
                             PAY),
 AT&T MOBILITY PUERTO RICO AND TORT DAMAGES
 INC.;
 LIBERTY MOBILE PUERTO RICO, TRIAL BY JURY DEMANDED
 INC.;
 INSURANCE COMPANY XYZ;
 COMPANY ABC;
 JOHN & JANE DOE

 DEFENDANTS

                                          COMPLAINT

TO THE HONORABLE COURT:

       COMES NOW, Myriam Marzan-Santiago, (“Plaintiff”), through the undersigned

attorney and very respectfully states, alleges and prays as follows:

                                PRELIMINARY STATEMENT

       1.      Plaintiff worked for AT&T Mobility Puerto Rico, Inc. (“AT&T”), now operating

as Liberty Mobile Puerto Rico, Inc. (“Liberty”) (jointly “Defendants”), since February of 2001

until her illegal termination on October of 2020. Defendants’ actions to illegally terminate the

Plaintiff is an act of discrimination against her based on sexual orientation because the Defendants

have provided opportunities and have given unequal treatment to male and heterosexual employees

when they have not terminated them for violation of the workplace Personal Relationship Policy.

Instead of providing the same opportunities and provide the same equal treatment that Defendants

have provided to male and heterosexual employees, the Defendants instead deprived the Plaintiff

of the same opportunities and treated her unequally compared to her male and heterosexual
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employees, by immediately terminating the Plaintiff under the false pretextual ground that she

breached her supervisor duties by failing to stop an alleged harassment against another employee

of the Defendants.

        2.      Such actions constitute a disparate treatment by the Defendants based on

discrimination based on sex pursuant to Title VII of the Civil Rights Act of 1964 (“Title VII”), 42

USC sec. 2000e-2(a), causing damages to the Plaintiff.

        3.      Plaintiff files this civil action against Defendant based on the following:

Discrimination based on Sex pursuant to Title VII, 42 USC sec. 2000e-2(a), Puerto Rico’s Law

No. 100 of June 30 (“Law 100”), 1959, 29 LPRA sec. 146 et seq., Puerto Rico’s Law No. 69 of

July 6, 1985 (“Law 69”), 29 LPRA sec. 1321 et seq., and Section 1 of Article II of the Constitution

of the Commonwealth of Puerto Rico; Wrongful Termination (Unjust Dismissal) pursuant to

Puerto Rico’s Law No. 80 of May 30, 1976 (“Law 80”), 29 LPRA sec. 185a et seq.; and Tort

Damages pursuant to the Puerto Rico’s Civil Code (“PRCC”).

        4.      Plaintiff seeks compensatory, punitive, double and liquidated damages, severance

pay, back pay, front pay, and equitable and injunctive relief for Defendants’ unlawful and

discriminatory employment termination of the Plaintiff based on her discrimination claims. In

addition, Plaintiff seeks other specific remedies that restore her to the position that she would have

held in the absence of the discrimination.

                                      JURISDICTION AND VENUE

        5.      The United States District Court for the District of Puerto Rico has jurisdiction over

this action under 28 U.S.C. sec. 1331 since the matter of this civil action arises under the

Constitution, laws, or treaties of the United States. Specifically, Plaintiff files this action pursuant

to Title VII.




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        6.      Plaintiff further invokes pendent or supplemental jurisdiction of this Court under

28 USC sec. 1367 to hear Puerto Rico constitutional and law claims arising from the same nucleus

of operative facts. Specifically, Plaintiff files this action pursuant to Section 1 and 16 of Article II

of the Constitution of the Commonwealth of Puerto Rico, Law 100, Law 69, Law 80, and Tort

Damages pursuant to the PRCC.

        7.      Pursuant to 28 U.S.C. sec. 1391 (a), venue is proper in the District of Puerto Rico

because the events that justify the causes of action occurred in this district and the defendant resides

within this judicial district.

        8.      Before filing this instant case, Plaintiff filed timely charges of retaliation and of

discrimination on the basis of sex before the Equal Employment Opportunity Commission

(“EEOC”) within one hundred and eighty (180) days and/or three hundred (300) days after the

adverse employment action. Plaintiff requested the Notice of Right to Sue from the EEOC, who

must issue it mandatorily after one hundred and eighty (180) days of investigation. Plaintiff thus

filed this timely Complaint.

        9.      Plaintiff demands that all causes of action be tried before a jury.

                                               PARTIES

        10.     Plaintiff, Myriam Marzan-Santiago, is of legal age, domiciled and resident of

Guaynabo, Puerto Rico.           Plaintiff’s physical address is Urb. Apolo, 2076 Calle Hercules,

Guaynabo, PR 00969.

        11.     Defendants AT&T Mobility Puerto Rico, Inc. (“AT&T”), now operating as Liberty

Mobile Puerto Rico, Inc. (“Liberty”) (jointly “Defendants”), are Companies organized under the

laws Puerto Rico who are duly authorized to do business in the Commonwealth of Puerto Rico.

These companies are dedicated to providing telecommunications services. Defendants constitute




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an integrated enterprise and are therefore to be considered as a single employer because of the

degree of interrelationship, common ownership and control, common management, and the degree

of centralization of labor relations and personnel functions at the Defendants’ place of business in

the Commonwealth of Puerto Rico. Defendants’ designated office address is 103 Ortegon St.,

Guaynabo, PR 00966. Defendants’ resident agent is CT Corporation located at 361 San Francisco

St., San Juan, PR 00901.

       12.     Co-Defendant, Insurance Company XYZ (“Insurance Company XYZ”), held an

insurance policy in favor of the Defendants. At the time of the discriminatory incidents described

herein, Insurance Company XYZ held an insurance policy in favor of the Defendants, specifically

to cover said discrimination claims. Their current address is unknown. Plaintiff reserves the right

to amend the Complaint once more information is discovered.

       13.     Co-Defendant, Company ABC (“Company ABC”), is another business company,

which is the parent company or an affiliated company of the Defendants, that directed and had

knowledge of Defendants’ discriminatory acts of which Plaintiff is complaining. Their current

address is unknown. Plaintiff reserves the right to amend the Complaint once more information is

discovered.

       14.     Co-Defendant, John & Jane Doe (hereinafter referred to as “Doe”), is another agent,

supervisor, official or director who is affiliated with the Defendants, who directed and had

knowledge of Defendants’ discriminatory acts of which Plaintiff is complaining. Their Current

address is unknown. Plaintiff reserves the right to amend the Complaint once more information is

discovered.

                                          THE FACTS

       15.     Plaintiff worked for AT&T since February of 2001.




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       16.     AT&T was bought by Liberty on or around November of 2020.

       17.     Plaintiff’s sexual orientation is openly homosexual.

       18.     Defendants are a company dedicated to providing telecommunications services.

       19.     Defendants have more than five hundred (500) employees.

       20.     Plaintiff began with the job position of a customer services representative.

       21.     During the years working for the company, Plaintiff was promoted to various

positions, such as the following: customer service senior, fraud specialist, leader intern and

business team manager.

       22.     Throughout all those years, Plaintiff excelled in her duties as an employee.

       23.     Plaintiff met and excelled the Employer’s work expectations with regards to her

work performance in that she was never disciplined in the past eighteen (18) years.

       24.     Plaintiff has been working as a business team manager for the past four (4) years

since July 2016.

       25.     Plaintiff’s general duties as a business team manager was to manage and coach

business customer service representatives, to ensure quality of service and reach company goals.

       26.     With regards to management of customer representatives, Plaintiff was tasked to

supervise the employees, and if necessary, refer them to Human Resources or any other department

that merited the same.

       27.     The Defendants have an Equal Employment Opportunity and Harassment Policy.

This Policy includes a Personal Relationship Policy which states that a dating relationship,

romantic relationship or any similar special personal relationship that give the appearance of

providing preferential treatment, should never exist between a supervisor and an employee for

whom the supervisor has some responsibility, including employees who report directly or




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indirectly within that supervisor’s chain of command. In other words, a manager and another

employee above or below that manager in the same chain of command, even if not directly above

or below that manager, may not have a romantic or other close personal relationship.

       28.     The Personal Relationship Policy states that to avoid these problems, all personal

relationships that may create a potential conflict or the appearance of a conflict under this policy

must be reported immediately to Human Resources. The Personal Relationship Policy states that

failure to disclose the relationship immediately or comply with the Company’s decision is a

violation of the policy and may result in discipline.

       29.     Based on information and belief, other male and heterosexual employees of the

Defendants have been subjected to this Personal Relationship Policy. Specifically, male and

heterosexual employees have been caught by the Defendants when they failed to disclose the

relationship. These male and heterosexual employees have been disciplined but have not been

immediately terminated.

       30.     Additionally, based on information and belief, Defendants have disciplined male

and heterosexual employees that have been accused of sexual harassment claims. These

disciplinary actions have ranged up to suspension, but not immediate dismissal.

       31.     Finally, based on information and belief, Defendants have received information as

to other male and heterosexual relationships that were disclosed, and Defendants took appropriate

actions which could include transfer or job reassignment or voluntary assignments.

       32.     In the summer of 2020, Plaintiff began to date an employee by the name of Christie

Rivera (“Rivera”). Rivera worked for the Employer. However, Rivera was not an employee under

Plaintiff’s supervision. Additionally, Plaintiff was unsure in these first dates if Plaintiff was

actually going to continue dating Rivera.




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       33.      Few weeks after dating Rivera, an incident occurred between Rivera and another

employee of the Defendants, by the name of Luis Cabrera (“Cabrera”).

       34.      The Plaintiff was the supervisor of Cabrera, whereas Mr. Andres Abreu (“Abreu”)

was the Supervisor of Rivera.

       35.      At no time prior to the incident that occurred between Rivera and Cabrera, did the

Plaintiff receive any type of verbal or written complaint from either Rivera or Cabrera pertaining

to harassment allegations.

       36.      At no time prior to the incident that occurred between Rivera and Cabera, Cabrera

alerted the Plaintiff about Rivera’s conduct towards Cabrera.

       37.      Plaintiff denies that she ever received a verbal or written complaint from Cabrera

as to Rivera.

       38.      Therefore, Plaintiff was never requested to take any corrective action with regards

to any harassment allegations between Rivera and Cabrera.

       39.      As a result of the incident between Rivera and Cabrera, Plaintiff and Abreu

immediately notified the Area Manager as well as Asset Protection of the incident between Rivera

and Cabrera.

       40.      The Area Manager told the Plaintiff and Abreu to suspend both their respective

subordinates.

       41.      Pursuant to the Area Manager’s instruction, the Plaintiff notified Cabrera that he

was suspended pending the investigation.

       42.      Meanwhile, pursuant to the Area Manager’s instruction, Abreu notified Rivera that

she was suspended pending the investigation.




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          43.   At no time whatsoever did the Plaintiff either stop and deter these corrective actions

against Rivera and Cabrera.

          44.   During the investigation of the incident, the Plaintiff was interviewed twice.

          45.   In the second interview, the Plaintiff was asked about her personal relationship with

Rivera.

          46.   Plaintiff admitted that she recently began dating Rivera but that she did not

supervise her directly because she was under the supervision of Abreu.

          47.   Two weeks after that second interview, on October of 2020, the Plaintiff was

illegally terminated by the Defendants.

          48.   The Plaintiff was not informed of the specific legitimate reason behind her illegal

termination.

          49.   The Plaintiff timely filed her Charge of Discrimination on November 4th, 2020,

under EEOC Charge No. 515-2021-00042.

          50.   It wasn’t until June of 2021, when the Defendants filed their Position Statement

answering the Charge of Discrimination, that the Plaintiff first gained knowledge of the false

pretextual grounds of the Defendants.

          51.   Specifically, the false pretextual ground that the Defendants allege was the reason

behind the termination of the Plaintiff was because the Plaintiff breached her supervisor duties by

failing to stop an alleged harassment against Cabrera because she covered for Rivera.

          52.   Over the course of approximately eighteen (18) years of employment, Plaintiff was

never reprimanded.

          53.   Plaintiff was never suspended from her employment.




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       54.     Plaintiff always fulfilled and excelled at her duties, and such was reflected in all of

her evaluations.

       55.     The Defendants’ actions constitute an illegal action against Plaintiff because they

treated Plaintiff unequally by terminating her immediately, when comparing the preferential

treatments, the Defendants made for male and heterosexual employees that developed personal

relationships. Specifically, these male and heterosexual employees were not immediately

dismissed. From information and belief, the male and heterosexual employees that were subjected

to the Personal Relationship Policy were given opportunities to return to work after a suspension.

       56.      The Defendants did not provide Plaintiff any opportunity whatsoever, such as a

job transfer or her first suspension.

       57.     The Defendants immediately terminated the Plaintiff, without taking any other

lesser disciplinary action that may have merited for not reporting her recent dates that occurred in

the recent few weeks.

       58.     Based on the before mentioned actions, the Defendants incurred in discriminatory

action against the Plaintiff because of her sex and her sexual orientation

       59.     Defendants incurred in disparate treatment when they treated the Plaintiff unequally

with regards to the usual disciplinary action concerning the Personal Relationship Policy

       60.     Plaintiff’s termination was based in discrimination against the Plaintiff due to her

sexual orientation.

       61.     Company ABC was the parent company or an affiliated company of the

Defendants. Company ABC had knowledge of Defendants’ discriminatory decisions. Company

ABC did not take any proper action to rectify and/or avoid the discriminatory actions incurred by




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Defendants. Company ABC allowed Defendants to discriminate against the Plaintiff by firing the

Plaintiff because of her sexual orientation, basing the decision on false pretextual grounds.

        62.     John & Jane Doe had knowledge of Defendants’ discriminatory decisions. John &

Jane Doe did not take any proper action to rectify and/or avoid discriminatory actions incurred

Defendants. John & Jane Doe allowed Defendant to discriminate against the Plaintiff by firing the

Plaintiff because of her sexual orientation, basing the decision on false pretextual grounds.

        63.     At the time of these discriminatory incidents, Insurance Company XYZ held an

insurance policy in favor of the Defendants, specifically to cover said discriminatory claims. Said

insurance policy was in force at the time of the discriminatory incidents.

        64.     Ever since Plaintiff was dismissed, Plaintiff has suffered economic losses and

deprivation of her salary. Plaintiff has lost sleep and rest, felt humiliated and discriminated, and

has been at loss of her peace of mind and emotional stability.

        65.     The Defendants are liable for all the Plaintiff’s damages.

                                  FIRST CAUSE OF ACTION

                             DISCRIMINATION BASED ON SEX

        66.     Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        67.     Defendants’ discriminatory conduct altered Plaintiff’s employment condition

because of Plaintiff’s sexual orientation.

        68.     At the moment that the Defendants’ incurred in the discriminatory conduct, the

Plaintiff was performing her job well enough to meet the Defendants’ legitimate expectations.




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        69.    However, the Defendants treated the Plaintiff unequally by immediately

terminating her when other male and heterosexual employees have not been immediately

terminated under the Personal Relationship Policy.

        70.    The Defendants fabricated a false pretextual ground that the reason behind the

termination of the Plaintiff was because the Plaintiff breached her supervisor duties by failing to

stop an alleged harassment against Cabrera because she covered for Rivera.

        71.    The Plaintiff denies this false pretextual ground, because the Plaintiff at no time

received any verbal or written complaint from Cabrera concerning an alleged harassment.

        72.    The Defendants fabricated this false pretextual ground in order to treat the Plaintiff

unequally with regards to the Personal Relationship Policy.

        73.    Defendants’ conduct against the Plaintiff constitutes discrimination based on sex

pursuant to Title VII, Law 100, Law 69, and Section 1 of Article II of the Constitution of the

Commonwealth of Puerto Rico.

        74.    As a proximate result of Defendants’ discriminatory practice, Plaintiff has suffered

intensely, has been deprived of her means of livelihood, has suffered economic losses and has been

emotionally injured.

        75.    As a result of Defendants’ discriminatory practices, Plaintiff lost the salary she was

entitled to.

        76.    Defendants are liable to Plaintiff for the back pay she was entitled had she

maintained her position pursuant to Section 706 (g) of Title VII of the Civil Rights Act, 42 USC.

Sec. 2000e-5(g).

        77.    Plaintiff’s last annual salary, plus benefits, was approximately fifty thousand

dollars ($50,000.00).




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        78.     Defendants are liable to the Plaintiff under this cause of action for all lost wages

and fringe benefits that the Plaintiff has incurred from the date of the adverse employment action

to the date on which damages are settled. Such back pay should include lost wages, pension

benefits, insurance, vacation, profit sharing, accrued sick leave and other economic benefits of

employment, plus prejudgment interest.

        79.     Pursuant to Title VII, Defendants’ discriminatory practices against the Plaintiff

were willful, malicious and/or carried with reckless indifference towards Plaintiffs’ rights

protected under federal law. Plaintiff is thus entitled to punitive damages. This amount continues

to increase with the passage of time and will be adjusted accordingly at the time of the trial.

        80.     In the alternative, an adequate remedy under Law 100 & Law 69, Defendants are

liable to Plaintiff for double the amount of back pay, front pay and compensatory damages, without

the need of establishing that there was a willful, malicious and/or reckless indifference towards

Plaintiffs’ rights.

        81.     Plaintiff’s dismissal was the culmination of Defendants’ discriminatory action

against the Plaintiff because of her sexual orientation.

        82.     Defendants are liable to Plaintiff under this cause of action, pursuant to Title VII,

Law 100, PR Law 69 and the Constitution of the Commonwealth of Puerto Rico, in excess of one

million one hundred forty-three thousand dollars ($1,143,000.00).

        83.     In addition, Plaintiff is entitled to reinstatement and to an order forbidding any

further discriminatory practices against her.

        84.     In addition to the remedies before mentioned, Plaintiff is entitled to double

compensatory and statutory damages. As a result, thereof, Defendants are liable for double

compensatory and statutory damages. These damages are estimated at no less than one million one




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hundred forty-two thousand dollars eight hundred forty-seven thousand dollars ($1,143,000.00),

which times two equal two million two hundred eighty-six thousand dollars ($2,286,000.00).

                                 SECOND CAUSE OF ACTION

                                 WRONGFUL TERMINATION

        85.     Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        86.     Defendants’ actions constitute a termination of employment without just cause.

        87.     Defendants are liable to Plaintiff pursuant to Law 80, for an amount equal to six (6)

months of salary plus benefits, as defined in the law, and fifty-four (54) additional weeks of

compensation, based on their highest earning in any thirty-day period within the three years prior

to the employee’s dismissal.

        88.     Therefore, the Defendants are liable for the severance payment of the approximate

amount of eighty thousand seven hundred fifty thousand dollars. ($80,750.00).

                                  THIRD CAUSE OF ACTION

                                       TORTS DAMAGES

        89.     Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        90.     Defendants’ actions constitute an act or omission which caused damage to Plaintiff.

Said act or omission was incurred due to fault or negligence.

        91.     Defendants are liable to Plaintiff pursuant to the PRCC.

        92.     John & Jane Doe’s actions constitute an act or omission which caused damage to

Plaintiff. Said act or omission was incurred due to fault or negligence.

        93.     John & Jane Doe’s are liable to Plaintiff pursuant to the PRCC.




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        94.      Company ABC’s actions constitute an act or omission which caused damage to

Plaintiff. Said act or omission was incurred due to fault or negligence.

        95.      Company ABC is liable to Plaintiff pursuant to the PRCC.

        96.      Defendants’ actions as subsidiary company of Company ABC constitute an act or

omission which caused damages to Plaintiff. Said act or omission was incurred due to fault or

negligence.

        97.      Therefore, Company ABC is vicariously liable for damages caused by the

Defendants in their service pursuant to the PRCC.

        98.      All before mentioned Defendants are jointly and severally liable for their negligent

and intentional tort actions.

        99.      As a result thereof, Defendants’ are liable for compensatory and statutory damages

pursuant to the PRCC.

        100.     These damages are estimated at no less than five hundred thousand dollars

($500,000.00).

                                 FOURTH CAUSE OF ACTION

         INSURANCE COMPANIES ARE JOINTLY AND SEVERALLY LIABLE

        101.     Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        102.     Insurance Company XYZ is directly, jointly and severally liable, along with the

other Co-defendants to the Plaintiff for the damages caused by their insured, pursuant to the terms

and coverage of their respective policy of insurance.

                                   FIFTH CAUSE OF ACTION

                    ATTORNEYS FEES AND PREJUDGMENT INTEREST




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        103.    Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        104.    Defendants are liable to Plaintiff for attorney’s fees and costs under Title VII.

        105.    Defendants are also liable to Plaintiff for attorney’s fees under Law 100 and Law

80.

        106.    Defendants are liable for prejudgment interest pursuant to Rule 54 of the Federal

Rules of Civil Procedure.

                                  DEMAND FOR JURY TRIAL

        107.     Plaintiff demand a trial by jury as to all claims and issues alleged herein

                                              PRAYER

        Wherefore, all allegations considered, Plaintiff prays that judgment be entered in their

favor and against all Defendants’, specifically:

        1. Granting Plaintiff’s Complaint against Defendants. This Court should grant Plaintiff’s

            complaint and find that the Defendants are liable to the Plaintiff based on the following:

            Discrimination based on Sex pursuant to Title VII, 42 USC sec. 2000e-2(a), Law 100,

            1959, 29 LPRA sec. 146 et seq., Law 69, 29 LPRA sec. 1321 et seq., and Section 1 of

            Article II of the Constitution of the Commonwealth of Puerto Rico; Wrongful

            Termination (Unjust Dismissal) pursuant to Law 80, 29 LPRA sec. 185a et seq.; and

            Tort Damages pursuant to the PRCC.

        2. An order directing Defendants to reinstate Plaintiff to her former position and to cease

            and desist of any further discriminatory conduct on the basis of sex.

        3. Awarding plaintiff back pay, together with interest, for the period that Plaintiff was

            deprived of her salary, as it was awarded to other employees in her previous position.




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       4. Awarding Plaintiff punitive and liquidated damages equal to twice the back pay and

           fringe benefits lost by the Plaintiff.

       5. Awarding Plaintiff lost benefits, both past and future.

       6. Awarding Plaintiff the amounts before mentioned in the Complaint, including the

           double compensatory damages.

       7. Awarding Plaintiff severance pay pursuant to Law 80.

       8. Awarding Plaintiff reasonable attorney’s fees, together with costs, litigation expenses,

           and necessary disbursements.

       9. Awarding Plaintiff any and all other relief to which Plaintiff may be justly entitled.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this same date, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

all counsel of record.

       RESPECTFULLY SUBMITTED: In San Juan, Puerto Rico on this 25th day of

September, 2021.

                                       S/VICTOR M. RIVERA-RIOS
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